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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

BERKELEY VENTURES II, LLC

            Plaintiff,
                                              Civil Action File No.
v.                                            1:19-cv-05523-SDG

SIONIC MOBILE CORPORATION and
RONALD D. HERMAN,

            Defendants.


        DEFENDANT SIONIC MOBILE CORPORATION’S
             BRIEF IN PARTIAL OPPOSITION TO
          PLAINTIFF BERKELEY VENTURES II, LLC’S
     MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL

      Respectfully, the Court should deny in part the Motion for Leave to File

Documents Under Seal [Doc. 158] (“Motion to Seal”) of Plaintiff Berkeley

Ventures II, LLC (“Berkeley”), which purports to file under seal the

documents attached to its Notice of Filing Under Seal [Doc. 157] (the

“Notice”), which constitute the exhibits designated A through U in Berkeley’s

Reply Memorandum in Support of its Motion to Add Patrick Gahan [Doc.

145], including in its Redacted [Doc. 155] and Unredacted [Doc. 157] versions

(respectively, the “Redacted Memo” and “Unredacted Memo”), plus one newly

added purported “Exhibit V.”



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      On July 16, 2021, Berkeley filed its Reply Memo, together with 88

pages of email correspondence that it termed “New Evidence,” in the form of

exhibits A through U, rounding out to 21 exhibits in total.1 While Berkeley’s

Reply Memo was unhelpfully opaque on which exhibits precisely constituted

“New Evidence,” Berkeley nonetheless confirmed that “New Evidence”

included “documents to be submitted under seal,”2 which by separate

correspondence Berkeley’s counsel confirmed to be the Reply Memo’s exhibits

A through U.3 Berkeley moved for leave to file these exhibits under seal [Doc.

146], although due to Berkeley’s failure to follow the rules, the Court denied

that motion. Accordingly, Berkeley has now submitted Motion to Seal and

associated Notice, stating clearly that the documents it intends to file under

seal include exhibits A through U. Berkeley has, however, also used its

Notice to add a new purported “Exhibit V” to the list of documents to be filed

under seal.

      For two reasons, Sionic does not object to exhibits B through Berkeley’s

new purported “Exhibit V” being filed under seal; although Sionic respectfully



1 Berkeley’s Reply Memo [Doc. 145] at 10.
2 Berkeley’s Reply Memo [Doc. 145] at 9, n.10, 11 n.11-12, 12 n.13-16, 13
n.17-19, 14 n.20-21 (stating that each exhibit is “to be filed under seal”).
3 Email correspondence dated July 16, 2021 from Jason Godwin, previously

introduced as Exhibit A to Sionic’s Motion to Strike [Doc. 153-2].

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refers the Court to its first and second Motions to Strike [Doc. 153, 162] as to

the ultimate admissibility of these exhibits for the first time on reply. First,

exhibits B, C, D, F, G, H, I, J, K, L, M, N, O, P, Q, R, S, T, U, and purported

“Exhibit V” constitute the production of Enduring Hearts, Inc. (“Enduring

Hearts”). Counsel to Berkeley and Sionic agreed with Enduring Hearts’

counsel that Enduring Hearts’ production would be accorded confidential

treatment in any filings with the Court as they contain sensitive confidential

and proprietary information of Enduring Hearts, Sionic and others, including

about donations of Sionic stock and of other personal property made by some

Sionic stockholders to Enduring Hearts, which referenced and included

confidential Sionic information. Second, exhibit E is a Sionic document

produced in response to Berkeley’s written discovery requests, and which, in

accordance with the Court’s Non-Sharing Protective Order [Doc. 107], Sionic

has designated “Confidential – Attorney’s Eyes Only,” a designation that

Berkeley does not dispute.

      However, the Reply Memo’s exhibit A is not proper for seal and is not

confidential. Exhibit A has been a matter of public record in this case since

Berkeley included it with its Complaint on December 7, 2019, calling it the




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“Introductory Email” and attaching it to its Complaint.4 Because Berkeley

provided only a truncated version of exhibit A, so as to excluded critical

information unhelpful to Berkeley’s claims, Sionic thereafter provided a

complete copy of the Introductory Email with its Motion to Dismiss on

January 30, 2020,5 which Sionic followed with the entire email chain as part

of its Motion to Join Third Parties and Permit Counterclaims on May 11,

2021.6 While attempting to spin exhibit A as being “New Evidence” might be

convenient to Berkeley Reply Memo, for the reasons explained in Sionic’s first

Motion to Strike [Doc. 153 – 153-4], this document is not new and does not

qualify for the protections afforded confidential documents and information

under the Court’s Non-Sharing Protective Order [Doc. 107].

      Sionic does not object to the Court sealing exhibit B through purported

“Exhibit V.” Sionic does, however, object to Berkeley’s exhibit A being sealed.




4 Berkeley’s Complaint, Ex. B [Doc. 1-2].
5 Sionic’s Motion to Dismiss, Ex. B [Doc. 10-2].
6 Sionic’s Motion to Join Third-Party Defendants and Permit Counterclaims,

Exhibit A to the proposed pleading [Doc. 127-2], which is the complete
Introductory Email chain, at .pdf page 40-63.

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Respectfully submitted this August 12, 2021.

                             /s/ Simon Jenner
                             Simon Jenner
                             Georgia Bar No. 142588
                             simon.jenner@bakerjenner.com
                             Richard J. Baker, Esq.
                             Georgia Bar No. 033879
                             rick.baker@bakerjenner.com
                             Adam P. Ford, Esq.
                             Georgia Bar No. 355079
                             adam.ford@bakerjenner.com
                             Baker Jenner LLLP
                             210 Interstate N. Parkway, SE, Ste. 100
                             Atlanta, Georgia 30339
                             Telephone: (404) 400-5955
                             Attorneys for Defendant




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            CERTIFICATE OF COMPLIANCE AND SERVICE

      I certify that the foregoing has been prepared in accordance with Local

Rule 5.1(C), using Century Schoolbook, 13-point font. I further certify I have

electronically filed on the date stated below, the foregoing DEFENDANT

SIONIC MOBILE CORPORATION’S BRIEF IN PARTIAL

OPPOSITION TO PLAINTIFF BERKELEY VENTURES II, LLC’S

MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL with the

Clerk of Court using the CM/ECF system which will automatically send

email notification of such filing to attorneys of record, as follows:

                             Jason Brian Godwin
                             Godwin Law Group
                        3985 Steve Reynolds Boulevard
                                 Building D
                           Norcross, Georgia 30093

      Further served by email, although not counsel of record:

                              David J. Hungeling
                              Adam S. Rubenfield
                           Hungeling Rubenfield Law
                          1718 Peachtree Street, N.W.
                            Peachtree 25th, Suite 599
                             Atlanta, Georgia 30309
                          E: David.hungelinglaw.com
                          E: adam@hungelinglaw.com

                               Daniel C. Norris
                           The Ether Law Firm, LLC
                          1718 Peachtree Street, N.W.
                           Peachtree 25th, Suite 599


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                   Atlanta, Georgia 30309
              E: Daniel.norris@etherlawfirm.com

This August 12, 2021.

                             /s/ Simon Jenner
                             Georgia Bar No. 142588
                             Baker Jenner LLLP
                             210 Interstate North Parkway, SE
                             Suite 100
                             Atlanta, Georgia 30339
                             Telephone: (404) 400-5955
                             E: simon.jenner@bakerjenner.com
